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DEPARTMENT OF WATER RESOURCES                                               BUREAU OF RECLAMATION
  Division of Operations and Maintenance                                      Central Valley Operations Office
    3310 El Camino Avenue, Suite 300                                         3310 El Camino Avenue, Suite 300
       Sacramento, California 95821                                            Sacramento, California 95821



   January 18, 2022

   Ms. Eileen Sobeck
   Executive Director
   California State Water Resources Control Board
   1001 I Street
   Sacramento, California 95814

   Subject: Withdrawal of 2022 Temporary Urgency Change Petitioner Regarding Delta Water Quality

   Dear Ms. Sobeck,

   On December 1, 2021, the U.S. Bureau of Reclamation (Reclamation) and California Department of
   Water Resources (DWR) jointly submitted a 2022 February through April Temporary Urgency Change
   Petition (TUCP) to request the California State Water Resources Control Board (State Water Board)
   consider modifying requirements set forth in Reclamation's and DWR' s water right permit Decision 1641.
   The primary goal of the TUCP was to conserve upstream storage at all Central Valley Project (CVP) and
   State Water Project (SWP) (collectively Projects) reservoirs should dry conditions persist through the fall
   and into 2022. The TUCP is one action of a portfolio of early drought actions that Reclamation and DWR
   considered to proactively manage the CVP and SWP for beneficial uses during a very challenging period.

   October and December hydrology showed a marked improvement from conditions experienced in 2021,
   and storage conditions improved at Oroville and Folsom reservoirs. In fact, Folsom is currently in flood
   operation status. However, storage levels at Shasta and Trinity reservoirs continue to be low with
   relatively lower runoff projections than seen in the central and southern watersheds. Within this context,
   Reclamation and DWR reviewed the request for the TUCP to determine if it would benefit Shasta and
   Trinity reservoirs by helping to preserve storage. Although the requested TUCP may result in some
   storage conservation under certain dry hydrology, the forecasted conditions of 2022 do not appear that
   this storage benefit would be in either Shasta or Trinity reservoirs. These reservoirs are not expected to
   be relied upon for meeting Delta outflow and/or salinity requirements in the February through April period
   due to the expected higher releases from Folsom, and Oroville, if needed, and/or additional systemwide
   runoff in general. Reclamation and DWR analyzed this expected benefit under very conservative
   hydrologic assumptions from the January runoff forecast. As a result, Reclamation and DWR no longer
   believe there is an urgent need for the February through April modifications contained in the 2022 TUCP.
   Because of this, Reclamation and DWR are withdrawing the TUCP.

   Reclamation and DWR continue to conduct operational studies and plan for a resumption of dry
   conditions. If those conditions occur, then modifications may be needed to protect upstream storage
   levels. If future modifications are needed, a separate petition will be filed with supporting information.
   Reclamation and DWR look forward to cooperatively working with the State Water Board and its staff
   during this challenging period to manage Delta water resources for the benefit of the people and natural
   resources of the state of California.




   Karla A. Nemeth                                           Ernest A. Conant
   Director                                                  Regional Director
   Department of Water Resources                             United State Bureau of Reclamation
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